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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.                                                Criminal No. 22-cr-299 (CKK)
 SHAWNDALE CHILCOAT,
 DONALD CHILCOAT,

        Defendants.


                             PRETRIAL SCHEDULING ORDER
                                   (December 20, 2024)


                                                                           Proposed Deadlines
Discovery & Associated Deadlines
Government to complete any final discovery under present indictment        January 13, 2025

Aspirational date for grand jury decision re: superseding indictment       February 3, 2025

Government to complete discovery under any superseding indictment          February 10, 2025

Discovery motions (Fed. R. Crim. P. 16)                                      February 17, 2025__


Expert Notices & Other Crimes Evidence
Government’s expert notice (FRE 701 & 702)                                 February 17, 2025
Defendant’s expert notice (FRE 701 & 702)                                  February 17, 2025
Government’s FRE 404(b) notice                                             February 17, 2025
       Defendant’s response to FRE 404(b) notice                           March 3, 2025
Brady notice                                                               March 10, 2025

Experts
Expert reports (FRE 702)                                                   February 24, 2025
Lay witness identification and subject matter (FRE 701)                    March 3, 2024
                                                                           Februa




Non-Evidentiary Pretrial Motions
Defendant’s non-evidentiary pretrial motions,
such as motions challenging the indictment                                  January 27, 2025
       Government’s response to Defendant’s non-evidentiary motions         February 10, 2025
       Defendant’s reply as to non-evidentiary motions                      February 24, 2025



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Government’s non-evidentiary pretrial motions                                 January 27, 2025
      Defendant’s response to Government’s non-evidentiary motions            February 10, 2025
      Government’s reply as to non-evidentiary motions                         February 24, 2025

Evidentiary Pretrial Motions
Defendant’s evidentiary pretrial motions,
such as motions to suppress evidence, or Daubert                             March 10, 2025
       Government’s response to Defendant’s evidentiary motions              March 24, 2025
       Defendant’s reply as to evidentiary motions                           April 7, 2025

Government’s evidentiary pretrial motions,
such as Daubert and other crimes (404(b))                                    March 10, 2025
Defendant’s response to Government’s evidentiary motions                     March 24, 2025
        Government’s reply as to evidentiary motions                         April 7, 2025

Motions in Limine
Motions in limine by both sides                                              February 10, 2025
Responses to motions in limine                                               February 24, 2025
Replies as to motions in limine                                              March 10, 2025

Pretrial Filings
Joint notice of stipulations                                                 March 24, 2025

Giglio, Jencks, and Rule 26.2 material                                       March 24, 2025

Voir Dire and Jury Instructions                                              March 24, 2025

Witness and Exhibit Lists
Government’s witness list, exhibit list and exhibits                        March 24, 2025
Defendant’s witness list, exhibit list and exhibits                         March 24, 2025

Hearings
Status Hearing                                                               February 19, 2025

Pretrial Conference                                                         TBD


Additional pretrial hearings (to include resolutions of objections to evidence) shall take place as
needed on a series of dates to be discussed with the Court.

Trial                                                                       May 5, 2025

        SO ORDERED.
                                                          /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge

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